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15
16
                           UNITED STATES DISTRICT COURT
17
                          CENTRAL DISTRICT OF CALIFORNIA
18
19 MASOUD BAMDAD, M.D., et al.,            )     CASE NO.: 18-3662
                                           )
20                     Plaintiffs,         )
21                                         )     PROOF OF SERVICE
                 v.                        )
22                                         )
23 PURDUE PHARMA, L.P., et al.,            )
                                           )
24                     Defendants.         )
25                                         )
26
27
28
                                     PROOF OF SERVICE
     Case 2:18-cv-03662-AB-PLA Document 7 Filed 05/01/18 Page 2 of 2 Page ID #:158




 1                              PRELIMINARY STATEMENT
 2         I am a citizen of the United States and employed in San Francisco, California. I am
 3 over the age of eighteen years and not a party to the within-entitled action. My business
 4 address is 50 California Street, 22d Floor, San Francisco, CA 94111. I am readily familiar
 5 with this firm’s practice for collection and processing of correspondence for mailing with
 6 the United States Postal Service.
 7         On May 1, 2018, I placed with this firm at the above address for deposit with the
 8 United States Postal Service a true and correct copy of the within document(s):
 9         1.    Defendants’ Notice of Removal and Declaration of Jonathan S. Tam in
10 Support of Defendants’ Notice of Removal;
11         2.    Civil Cover Sheet;
12         3.    Notice of Pendency of Other Actions or Proceedings;
13         4.    Notice of Interested Parties;
14         5.    Corporate Disclosure Statement of Purdue Pharma L.P.; and
15         6.    Corporate Disclosure Statement of Purdue Products L.P.
16 in a sealed envelope, postage fully paid, addressed to Plaintiff Masoud Bamdad MD,
17 47237-112 U.S. Penitentiary, P.O. Box 1000, Marion, IL 62959.
18         Following ordinary business practices, the envelope was sealed and placed for
19 collection and mailing on this date, and would, in the ordinary course of business, be
20 deposited with the United States Postal Service on this date.
21         I declare under the penalty of perjury that I am employed in the office of a member
22 of the bar of this court at whose direction the service was made, and that the foregoing is
23 true and correct.
24         Executed on May 1, 2018, at San Francisco, California.
25
                                           By:   /s/ Monita Jones
26                                               Monita Jones
27
28                                         -2-
                                    PROOF OF SERVICE
